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10
                            UNITED STATES DISTRICT COURT

11            CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
12

13
      DAVID LAWRENCE,                             ) Case No. CV 10-008686-DGM-JCG
14                                                )
15
                   Plaintiff,                     )
            vs.                                   ) STIPULATION OF DISMISSAL
16                                                )
17    NCO FINANCIAL SYSTEMS INC.                  )
                                                  )
18
                   Defendant.                     )
19                                                )
                                                  )
20

21
            Plaintiff David Lawrence and Defendant NCO Financial Systems, Inc.
22

23
      submit this Stipulation of Dismissal and state as follows:
24
            All claims and causes of action against Defendant which were or could have
25
      been the subject matter of this lawsuit have been withdrawn and the parties agree
26

27    to dismissal of said claims and causes of action without prejudice.
28

                                        Stipulation of Dismissal

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 1
            IT IS HEREBY STIPULATED by and between Plaintiff and Defendant
 2
      through their designated counsel that the above captioned action is dismissed
 3

 4    without prejudice pursuant to Fed. R. Civ. Pro. 41(a)(1).
 5
      Dated: July 19, 2011            KROHN & MOSS, LTD.
 6

 7                                    /s/Ryan Lee
                                      Ryan Lee, Esq.
 8
                                      Attorney for Plaintiff
 9                                    David Lawrence
10

11    Dated: July 19, 2011            SESSIONS, FISHMAN, NATHAN & ISRAEL, L.L.P.
12

13                                    /s/ Debbie P. Kirkpatrick____________
14                                    Debbie P. Kirkpatrick
                                      Attorney for Defendant
15
                                      NCO Financial Systems, Inc.
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                                        Stipulation of Dismissal

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